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                                                 #:864



 1    Arjun Vasan
 2    arjun.vasan@gmail.com
 3    12615 193rd Street
 4    Cerritos, CA 90703
 5    562-900-6541
 6    Plaintiff in Pro Per
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 9                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
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      Arjun Vasan,                                         Case No.: 2:25−cv−00765−MEMF−JPR
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                    Plaintiff,                             Hon. Maame Ewusi-Mensah Frimpong
13
             vs.                                           PLAINTIFF’S NOTICE OF NON-
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      Checkmate.com, Inc.,                                 OBJECTION REGARDING
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      (dba “Checkmate”),                                   DEFENDANT’S DECLARATIONS AND
16
                    Defendant.                             EXHIBITS IN SUPPORT OF ITS
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                                                           MOTION TO DISMISS OR TRANSFER
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19                                                         Hearing date: June 5th, 2025
                                                           Time: 10 am
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                                                           Complaint Filed: January 28, 2025
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      TO THE HONORABLE COURT:
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             Plaintiff Arjun Vasan respectfully submits this notice of non-objection regarding
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      Defendant’s declarations and evidentiary submissions. Plaintiff has previously asserted, and
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      continues to maintain, that Defendant’s Reply (ECF 32) and associated material are improper,
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      untimely and should be struck from this courts record if Plaintiff is not permitted a response.
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                                           NOTICE OF NON-OBJECTION
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                                                  #:865



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 2           However, at this time, Plaintiff declines to file formal evidentiary objections to any
 3    declarations or exhibits in support of Defendant’s motion to dismiss or transfer venue. Plaintiff
 4    believes that the credibility, admissibility, and internal contradictions of Defendant’s declarations
 5    are more appropriately addressed through substantive engagement rather than rote objections.
 6           Plaintiff expressly reserves all rights to contest the admissibility, accuracy, credibility,
 7    and weight of Defendant’s evidence at the appropriate stage of proceedings. Nothing in this
 8    notice should be construed as a concession of any fact asserted in Defendant’s declarations.
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                                                            Respectfully Submitted,
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13     Dated: April 26, 2025

14                                               By:        /s/ Arjun Vasan
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                                                            ___________________________________
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17                                                          Arjun Vasan
                                                            Plaintiff In Pro Per
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                                           NOTICE OF NON-OBJECTION
